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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

JANET CLAYBROOK,                            §
                                            §
              Plaintiff,                    §
                                            §
v.                                          §      CIVIL ACTION NO. ___________
                                            §
PAULA DUNNING AND                           §
TIME DEFINITE SERVICES,                     §
TRANSPORTATION, LLC.                        §
                                            §
              Defendants.

                                NOTICE OF REMOVAL

       PLEASE      TAKE     NOTICE      that    Defendant,     Time    Definite    Services

Transportation, LLC, by and through its counsel of record and pursuant to 28

U.S.C. § 1332(a), respectfully submits this Notice of Removal, removing the

above-entitled lawsuit from the 96th District Court, Tarrant County, Texas, to

the United States District Court for the Northern District of Texas, Fort Worth

Division. Removal is proper on the following grounds:

       1.     On September 1, 2015, Plaintiff, Janet Claybrook (“Plaintiff”),

commenced an action against Paula Dunning and Time Definite Services

Transportation, LLC (collectively “Defendants”), in the 96th District Court,

Tarrant County, Texas. See Exhibit B-1.1

       2.     Plaintiff’s Original Petition With Written Discovery in the state

court proceeding was served on the registered agent for Time Definite Services

Transportation, LLC (“TDST”) on September 10, 2015. See Exhibit B-1.

1 Defendant’s exhibits referenced herein are filed separately in their Appendix in Support of

Defendant’s Notice of Removal.

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        3.      Plaintiff’s Original Petition With Written Discovery in the state

court        proceeding   was    served    in   the    name     of   Defendant       Paul

Dunning(“Dunning”), with Tryon Lewis, Chair of the Texas Transportation

Commission on behalf of Defendant Dunning on September 22, 2015. See

Exhibit B-4.

        4.      Defendant TDST filed its Original Answer in the state court

proceeding on September 25, 2015. See Exhibit B-5.

        5.      Defendant Dunning has not yet filed a responsive pleading in the

state court proceeding as Defendant Dunning is deceased. Defendant Dunning

passed away in July 2015. A suggestion of death has been filed in the state

court proceeding. See Exhibit B-6.

        6.      No other pleadings are on file with the clerk of the state court and

the state court has entered no orders in this action. See Exhibit A. No hearings

are set in the state court action. Id.

        7.      Removal of this action is permitted pursuant to 28 U.S.C. § 1332

(a), since there is complete diversity of the parties that existed both at the time

the lawsuit was filed and at the time of removal as set forth below:

                a. Plaintiff is a citizen of the State of Texas. See Exhibit B-1, ¶2.1.

                b. Defendants TDST is a limited liability company with its location

                   of formation in the State of Florida and principal places of

                   business in the State of Florida and the State of Illinois. TDST

                   is comprised to two managing members, both of which are

                   citizens of the State of Florida.


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            c. Defendant Paula Dunning (“Dunning”) was a resident of the

               State of Florida at the time of the accident and at the time of

               her death in July 2015. See Exhibit B-1.

            d. The amount in controversy exceeds $75,000.00, excluding

               interest and costs, as Plaintiff contends her damages exceed

               $100,000, as stated in the Petition. See Exhibit B-1, at ¶3.1.

      8.    Defendant TDST was served with the initial pleadings in the state

court action on or about September 10, 2015. This Notice of Removal is timely

under 28 U.S.C. § 1446(b), being made within 30 days of receipt, through

service or otherwise, of the initial pleadings setting forth Plaintiff’s claims for

relief upon which this action is based.

      9.    Venue is proper under 28 U.S.C. § 1446(a) as the 96th District

Court, Tarrant County Texas is located within the United States District Court

for the Northern District of Texas, Fort Worth Division.

      10.   Consent to removal by Defendant Dunning could not be obtained

at the time of the filing of this Notice of Removal as Defendant Dunning is

deceased, and therefore, not a proper party to the suit. See Exhibit B-6.

      11.   Both Plaintiff and Defendant TDST demanded a jury trial in state

court. See Exhibits B-1, and B-5.

      12.   Pursuant to 28 U.S.C. § 1446(a), Defendant has attached all the

state court process, pleadings, and orders served upon them, including the

discovery requests included in Plaintiff’s Petition. Attached in the supporting




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appendix, in accordance with Rule 81.1(a)(3) of the Local Rules of the Northern

District of Texas, and incorporated herein by reference are the following:

         •   Exhibit A: Copy of the Docket Sheet for Cause No. 096-280741-15,

             in the 96th District Court, Tarrant County, Texas;

         •   Exhibit B: An index of documents filed in above-referenced suit,

             arranged in chronological order according to the state court file

             date, following by the referenced documents:

                o Exhibit   B-1:   Plaintiff’s   Original   Petition   With   Written

                   Discovery filed September 1, 2015;

                o Exhibit B-2: Civil Case Information Sheet;

                o Exhibit B-3: Letter to the Clerk regarding citations filed

                   September 1, 2015;

                o Exhibit B-4: Return of Citation to Texas Transportation

                   Commission on behalf of Paula Dunning files September 22,

                   2015;

                o Exhibit B-5 Defendant Time Definite Services Transportation,

                   LLC’s Original Answer files September 25, 2015;

                o Exhibit B-6: Suggestion of Death of Paula Dunning; and

         •   Exhibit C: Certificate of Interested Persons in accordance with

             Local Rule 3.2(e).

      13.    A copy of this Notice of Removal is attached to the Notice of Filing

of Notice of Removal filed with the 96th District Court, Tarrant County, Texas,

as required by 28 U.S.C. § 1446(d). Defendant will serve and certify service of

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copies of this Notice of Removal on Plaintiff as required under 28 U.S.C. §

1446(d).

   WHEREFORE, Defendant TDST respectfully requests the above-entitled

action now pending in the 96th District Court, Tarrant County, Texas, be

removed to the United States District Court for the Northern District of Texas,

Fort Worth Division, and that said Court assume full jurisdiction over the

cause herein as provided by law.

                              Respectfully submitted,

                              SCOPELITIS, GARVIN, LIGHT,
                              HANSON & FEARY, P.C.

                              By:    /s/ John W. Greene ________
                                    John W. Greene
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                              ATTORNEYS FOR DEFENDANT
                              TIME DEFINITE SERVICES
                              TRANSPORTATION, LLC




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                            CERTIFICATE OF SERVICE


        On October 9, 2015, I electronically submitted the foregoing document

with the clerk of the court of the U.S. District Court, Northern District of Texas

via ECF. I hereby certify that I have served all counsel of record listed below

electronically or by another manner authorized by the Federal Rules of Civil

Procedure.

_______         E-Service                          Wade A. Barrow
_______         Certified Mail, RRR                Law Offices of Steven C. Laird
_______         Regular First-Class Mail           1824 8th Avenue
___X___         Facsimile                          Fort Worth, TX 76110
                                                   Fax: 817-923-2228


                                             /s/ John W. Greene
                                            John W. Greene

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